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  I.INITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

 I.INITED STATES OF AMERICA,

                                                                   51 23 Cr. 118 (AT)

 YANPING WANG, alk/ a "Y v ette,"                                  DECLARATION

                        Defendant.


        I, John McEnany, pursuant to 28 U.S.C. 5 1746, declare as follows:

        1.     I joined the United States Attorney's Office for the Southern District of New York

in 1983. In 1991 I joined the executive staff of the Office as Associate U.S. Attorney, a position I

maintained until I retired on April 15,2022.

        2.     Among other duties and responsibilities as Associate U.S. Attorney, I became, in

or around 1991, Government Ethics Advisor, a position I maintained until my retirement. As

Government Ethics Advisor, one of my responsibilities was to provide training and advice

concerning government ethics statutes and regulations, including the Standards of Ethical Conduct

for Employees of the Executive Branch, 5 C.F.R. Paft2635. Subpart F of the Standards addresses

conflicts that may arise when a government employee is seeking employment with an entity that

is involved in a matter that the government employee is also working on. My training and advice

also included the post-employment restrictions contained in 18 U.S.C.5207 and 5 C.F.R. Par-t

2641.

        3.     In addition, in or around 7994,|became the Professional Responsibility Officer for

the Criminal Division of the U.S. Attorney's Office, a position I maintained until my retirement.

Among my responsibilities in that position was to provide training and advice concerning

standards of professional attorney conduct, including the New York Lawyer's Code of
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Professional Responsibility, supplanted in 2009 by the New York Rules of Professional Conduct,

22 N.Y.C.R.R Part 1200, and the New York State Bar Association's Comments thereto. (Post-

employment restrictions on former government attorneys are addressed in Rule of Professional

Conduct 1.1 1.)

        4.        The Office of Government Ethics and the Department of Justice required, among

other things, that attorneys receive annual government ethics training. I gave andlor supervised the

provision of this training every year. The conflicts that could arise when seeking other

employment, and subsequent post-employment restrictions-both of which derive from criminal

statutory provisions-were an element of this training. Because the U.S. Attorney's Office for the

Southern District of New York is a high-turnover Office, this was a matter to which I gave

particular emphasis. And most parlicularly, since these were somewhat complicated matters that

would not usually be of importance to an Assistant U.S. Attorney until that attorney was actually

seeking other employment, my training emphasized that the attorney should consult with me at

that time. Most attorneys contemplating leaving the Office did so. In addition, I made clear that,

after leaving the Office, attorneys should freely call me with any conflict-related questions, and I

fielded many such questions during my tenure.

       5.      In addition, commencing many years before I left the Office, I instituted the practice

of setting up an exit meeting with each departing Assistant U.S. Attorney. This covered a case

review; ministerial matters, such as record preservation procedures; and a review of post-

employment ethical restrictions under both government ethics provisions and the Rules of

Professional Conduct. My discussion covered, among other things, the lifetime bar on working on

any matter on which the attorney had participated personally and substantially while at the Office;

and (when speaking with a departing unit chief that the Office considered unit chiefs as having in



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fact participated personally and substantially in every matter within the chief s unit: that was their

job. I also stressed that the departing attorney could always call me with potential conflict

questions. I do not have a specific recollection of an exit meeting with Emil Bove (and cannot

check all of my old records to verify) but since we were both conscientious about such matters,

and since we did have the post-employment conversation discussed below, I am fairly confident

that we did indeed meet. I also have a vague recollection of a discussion with Mr. Bove before he

left the Office that he was looking at a law firm in New Jersey, and that, given the nature of the

firm's practice, I commented that that firm was unlikely to have any cases with the Office that

would raise a conflict question while Mr. Bove was considering joining that firm.

        6.      I do have a specific recollection that after Mr. Bove left the Office he called me
(my notes referenced below indicate that this call was on January 19, 2022) to ask if I saw any

issue with him taking on a potential client in a civil matter, given that Mr. Bove had supervised an

investigation relating to the client's father when Mr. Bove was in the Office. (I did not note the

name of the prospective client other than that she was Guo's daughter.) I recall looking into the

facts with attorneys in the Terrorism and International Narcotics Unit and getting back to Mr. Bove

with the concern that the civil matter would inevitably lead back into facts relating to the

investigation that Mr. Bove had supervised while he was co-Chief of that unit. At my urging, Mr.

Bove agreed to stay away from the civil matter.

       7.       on August 77,2023, AUSA Juliana Murray provided me with a copy of the
handwritten notes I made of my first telephone call with Mr. Bove, dated January 19,2OZ2; andl

have also reviewed the email string that was previously submitted, ex parte, as Exhibit D to an
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earlier filing in the instant case. Those records confirm and supplement my recollection of this

matter.

          8.   I declare under penalty of perjury that the information contained in this affidavit is

true and correct.




Executed:
New York, New York
August 18,2023




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